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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   MATTHEW M. SCOBLE, Bar #237432
     Designated Counsel for Service
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     CHRISTOPHER TABOR
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 7
                          IN THE UNITED STATES DISTRICT COURT
 8
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,          )   NO. CR.S-11-077-WBS
11                                      )
                      Plaintiff,        )
12                                      )   STIPULATION AND [PROPOSED] ORDER;
          v.                            )      CONTINUING STATUS CONFERENCE
13                                      )          AND EXCLUDING TIME
     JASPREET DHADDA,                   )
14   CHRISTOPHER TABOR,                 )   Date: July 23, 2012
                                        )   Time: 9:30 a.m.
15                  Defendant.          )   Judge: Hon. William B. Shubb
     _______________________________
16
17        IT IS HEREBY STIPULATED by and between the parties hereto through

18   their respective counsel, JASON HITT, Assistant United States Attorney,

19   attorney for Plaintiff, and attorney PETER KMETO, Counsel for JASPREET

20   DHADDA, and attorney MATTHEW SCOBLE, Counsel for CHRISTOPHER TABOR that

21   the status conference hearing date of June 25, 2012 be vacated, and the

22   matter be set for status conference on July 23, 2012 at 9:30 a.m.

23             The reason for this continuance is to allow defense counsel

24   additional time to review discovery with the defendants, to examine

25   possible defenses and to continue investigating the facts of the case.

26        Based upon the foregoing, the parties agree that the time under

27   the Speedy Trial Act should be excluded from the date of signing of

28   this order through and including July 23, 2012 pursuant to 18 U.S.C.
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 1   §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and Local Code
 2   T4 based upon continuity of counsel and defense preparation.
 3
 4   DATED:    June 21, 2012.                        Respectfully submitted,
 5                                                   DANIEL J. BRODERICK
                                                     Federal Public Defender
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 7
                                                     /s/ Matthew M. Scoble
 8                                                   MATTHEW M. SCOBLE
                                                     Assistant Federal Defender
 9                                                   Attorney for CHRISTOPHER TABOR
10
11   DATED:    June 21, 2012.                        /s/ Matthew M. Scoble for
                                                     PETER KMETO
12                                                   Assistant for Defendant
                                                     JASPREET DHADDA
13
14   DATED:    June 21, 2012.                        BENJAMIN WAGNER
                                                     United States Attorney
15
16
                                                     /s/ Matthew Scoble for
17                                                   JASON HITT
                                                     Assistant U.S. Attorney
18                                                   Attorney for Plaintiff
19
20
21                                       ORDER
22        UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
23   ordered that the June 25, 2012, status conference hearing be continued
24   to July 23, 2012 at 9:30 a.m.        Based on the representation of defense
25   counsel and good cause appearing there from, the Court hereby finds
26   that the failure to grant a continuance in this case would deny defense
27   counsel reasonable time necessary for effective preparation, taking
28   into account the exercise of due diligence.           The Court finds that the


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 1   ends of justice to be served by granting a continuance outweigh the
 2   best interests of the public and the defendants in a speedy trial.       It
 3   is ordered that time up to and including the July 23, 2012 status
 4   conference shall be excluded from computation of time within which the
 5   trial of this matter must be commenced under the Speedy Trial Act
 6   pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T-4,
 7   to allow defense counsel reasonable time to prepare.
 8   Dated:    June 22, 2012
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